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 1   CONN LAW, PC
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     San Francisco, CA 94104
 3   Telephone: (415) 417-2780
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 4   elliot@connlawpc.com
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 9   jvarnell@varnellandwarwick.com
     bwarwick@varnellandwarwick.com
10   mpeterson@varnellandwarwick.com
11
     Attorneys for Plaintiff Ying Ying Guan and the potential class
12

13
                                   UNITED STATES DISTRICT COURT
14
                                NORTHERN DISTRICT OF CALIFORNIA
15
                                           OAKLAND DIVISION
16

17
     YING YING GUAN, individually, on
18   behalf of all others similarly situated, and on    Case No. 4:20-cv-05719 (JST)
     behalf of the general public
19                                                      DECLARATION OF ELLIOT CONN IN
                            Plaintiff.                  SUPPORT OF PLAINTIFF’S MOTION
20                                                      FOR ENTITLEMENT TO ATTORNEYS’
            vs.                                         FEES UNDER A CATALYST THEORY
21
     MERCEDES-BENZ USA, LLC and                         Judge:        Jon S. Tigar
22   DAIMLER AG,                                        Date:         September 29, 2022
                                                        Time:         2:00 p.m.
23                          Defendants.                 Courtroom:    6, 2nd Floor
                                                        Trial Date:   N/A
24

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      Case No. 4:20-cv-05719 (JST): DECLARATION IN SUPPORT OF PLAINTIFF’S MOTION
           FOR ENTITLEMENT TO ATTORNEYS’ FEES UNDER CATALYST THEORY
      Case 4:20-cv-05719-JST Document 88 Filed 07/22/22 Page 2 of 128


 1           I, ELLIOT CONN, declare as follows:
 2           1.      I am an attorney duly admitted to practice before this Court. I am an attorney at
 3   Conn Law, PC, attorneys of record for Plaintiff Ying Ying Guan in this action. I have personal
 4   knowledge of the facts set forth herein. If called as a witness, I could and would competently
 5   testify to the matters stated herein.
 6           2.      Attached hereto as Exhibit 1 is a true and correct copy of documents produced by
 7   Defendant Mercedes-Benz USA, LLC in discovery, bates stamped GUAN_MBUSA_002642-
 8   GUAN_MBUSA_002647, which set forth communication records between Plaintiff Ying Ying
 9   Guan and Mercedes.
10           3.      Attached hereto as Exhibit 2 is a true and correct copy of the May 26, 2020
11   Consumers Legal Remedies Act (“CLRA”) settlement demand issued to Mercedes along with the
12   Certified Mail Receipt.
13           4.      Attached hereto as Exhibit 3 is a true and correct copy of the Complaint for
14   Damages and Equitable Relief that was attached to the May 26, 2020 CLRA letter.
15           5.      Attached hereto as Exhibit 4 is a true and correct copy of a letter that I received on
16   June 26, 2020, from Troy M. Yoshino of Squire Patton Boggs, on behalf of Mercedes.
17           6.      Attached hereto as Exhibit 5 is a true and correct copy of a letter that I sent to Mr.
18   Yoshino on July 15, 2020.
19           7.      I did not receive any response to my July 15, 2020 letter from Mr. Yoshino.
20           8.      On August 3, 2020, I received a telephone call from Alfredo W. Amoedo, of
21   Squire Patton Boggs, who informed me that that his firm intended to remove the case to Federal
22   Court and intended to file a motion to dismiss. Mr. Amoedo asked if we would stipulate to an
23   extended briefing schedule for the anticipated motion to dismiss, to which I agreed. This
24   agreement was memorialized in an email attached hereto as Exhibit 6.
25           9.      At no point during our August 3 call did Mr. Amoedo mention an anticipated
26   “extended warranty campaign.”
27           10.     We had a subsequent conversation with Mercedes’ attorneys on August 28, 2020,
28   during which, for the first time, they indicated that Mercedes would be issuing a “recall” for the



     Case No. 4:20-cv-05719 (JST): DECLARATION IN SUPPORT OF PLAINTIFF’S MOTION
     FOR ENTITLEMENT TO ATTORNEYS’ FEES UNDER CATALYST THEORY              1
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 1   class vehicles.
 2           11.       Attached hereto as Exhibit 7 is a true and correct copy of my correspondence with
 3   Mercedes’ attorneys between September 8, 2020 and September 9, 2020.
 4           12.       Attached hereto as Exhibit 8 is a true and correct copy of my correspondence with
 5   Mercedes’ attorneys between September 9, 2020 and September 11, 2020.
 6           13.       I did not receive any response to my September 11, 2020 email.
 7           14.       Attached hereto as Exhibit 9 is a true and correct copy of documents produced by
 8   Defendant Mercedes-Benz USA, LLC in discovery, bates stamped GUAN_MBUSA_002783-
 9   GUAN_MBUSA_002785, which contain both internal and external emails.
10           15.       Attached hereto as Exhibit 10 are excerpts from the Deposition of Mercedes-Benz
11   USA, LLC Supervisor of Environmental Compliance, Shaun Roopnarine, taken on April 20,
12   2022.
13           16.       Attached hereto as Exhibit 11 is a true and correct copy of documents produced
14   by Defendant Mercedes-Benz USA, LLC in discovery, bates stamped GUAN_MBUSA_003674-
15   GUAN_MBUSA_003677.
16           17.       Attached hereto as Exhibit 12 are excerpts from the Deposition of Mercedes-Benz
17   USA, LLC Emissions Engineer, Fahad Saadat, taken on April 28, 2022.
18           18.       Attached hereto as Exhibit 13 is a true and correct copy of documents produced
19   by Defendant Mercedes-Benz USA, LLC in discovery, bates stamped GUAN_MBUSA_002685-
20   GUAN_MBUSA_002686.
21           19.       Attached hereto as Exhibit 14 is a true and correct copy of documents produced
22   by Defendant Mercedes-Benz USA, LLC in discovery, bates stamped GUAN_MBUSA_002701-
23   GUAN_MBUSA_002702.
24           20.       Collectively, my co-counsel and I have spent hundreds of hours litigating this case
25   and have incurred multiple thousands of dollars in litigation costs.
26           21.       Pursuant to Local Rule 54-5(b)(1), I have met and conferred with counsel for
27   Mercedes to resolve any disputes with respect to the motion, Counsel for Mercedes has indicated
28   that Mercedes disputes any entitlement of Plaintiff to attorneys’ fees.



     Case No. 4:20-cv-05719 (JST): DECLARATION IN SUPPORT OF PLAINTIFF’S MOTION
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 1          I declare under penalty of perjury under the laws of the United States of America that the
 2   foregoing is true and correct, and this Declaration is executed on July 1, 2022, at San Francisco,
 3   California.
 4                                         /s/ Elliot Conn_________________________
                                           ELLIOT CONN
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     Case No. 4:20-cv-05719 (JST): DECLARATION IN SUPPORT OF PLAINTIFF’S MOTION
     FOR ENTITLEMENT TO ATTORNEYS’ FEES UNDER CATALYST THEORY              3
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                Exhibit 2
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                                                                                                ELLIOT CONN
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                                                                                    HTTPS://CONNLAWPC.COM
                                                                                   ELLIOT@CONNLAWPC.COM




                                         May 26, 2020


VIA CERTIFIED U.S. MAIL, RETURN RECEIPT REQUESTED AND FEDEX
Mr. Nicholas Speeks
Chief Executive Officer
Mercedes-Benz USA, LLC
One Mercedes-Benz Drive
Sandy Springs, GA 30328-4201


       Re:    Guan v. Mercedes-Benz USA, LLC
              San Francisco County Superior Court, Case No. CGC-20-584498
              Notice of Violations of Civil Code Section 1750, et seq. and Demand for
              Corrective Action


Dear Mr. Speeks,
        As detailed in the enclosed complaint in Guan v. Mercedes-Benz USA, LLC, your
company has violated and is continuing to violate provisions of the Consumers Legal Remedies
Act, California Civil Code Section 1750, et seq. The purpose of this letter is to notify you of
these violations and demand that you take corrective action by:
   1. Conducting a recall of all 2012-2014 Mercedes-Benz C250 vehicles in California and
      replacing the intake and exhaust camshaft adjusters at no expense to the owners of the
      vehicles;

   2. Sending a letter to the last known address of every known owner in California of a 2012-
      2014 model year Mercedes-Benz C250 vehicle, notifying them that Mercedes-Benz will
      fully reimburse any costs or expenses previously incurred in connection with replacing
      their vehicles intake and/or exhaust camshaft adjusters;
   3. Agreeing to cover under warranty, defective camshaft adjusters on all 2012-2014
      Mercedes-Benz C250 vehicles for a period of 170,000 miles/17 years; and
   4. Publishing a notice in the Wall Street Journal, Los Angeles Times, San Francisco
      Chronicle, and USA Today, advising current and former owners of 2012-2014 Mercedes-
      Benz C250 vehicles in California of their right to receive reimbursement for any
      expenses incurred in connection with the defective camshaft adjusters in the past and to
      have any future expenses covered under Mercedes-Benz’s warranty for a period of
      170,000 miles/17 years. The notice shall also be published on a website established and
      maintained by Mercedes-Benz for at least one year.
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Conn to Speeks
May 26, 2020
Page 2 of 2

        Unless Mercedes-Benz takes the corrective action set forth herein within 30 days, Ms.
Guan will amend her complaint to seek damages under the CLRA. Thank you for your attention
to this matter.

                                      Very truly yours,



                                         Elliot Conn

CC:    Matthew Everitt (Vice President and General Counsel, Mercedes-Benz USA, LLC)
       Brian Warwick
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                Exhibit 5
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                                                                                                  ELLIOT CONN
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                                                                                           FAX: (415) 358-4941
                                                                                      HTTPS://CONNLAWPC.COM
                                                                                     ELLIOT@CONNLAWPC.COM




                                          July 15, 2020

VIA E-MAIL ONLY
Troy M. Yoshino
SQUIRE PATTON BOGS LLP
275 Battery Street, Suite 2600
San Francisco, CA 94111
troy.yoshino@squirepb.com

       Re:    Guan v. Mercedes-Benz USA, LLC
              San Francisco County Superior Court, Case No. CGC-20-584498

Dear Mr. Yoshino,

      I am in receipt of your letter dated June 25, 2020 sent in response to my May 26, 2020
Consumers Legal Remedies Act (“CLRA”) Demand for Corrective Action.

       I disagree with your assertion that the Letter “fails to specify what wrongdoing MBUSA
purportedly engaged in.”

        The May 26 Letter incorporates by reference and encloses the Class Action Complaint
that my office filed against Mercedes-Benz USA, LLC (“MBUSA) on May 20, 2020. The
Complaint’s 117 paragraphs allege in detail how “Mercedes-Benz wrongfully and intentionally
concealed a latent defect in the camshaft adjusters of the Subject Vehicles, which causes the
camshaft adjusters to fail prematurely, forcing Plaintiff and members of the Class to incur
substantial out of pocket costs to replace the damaged camshaft adjusters and attendant engine
parts.” (see .e.g. Complaint ¶¶ 1-59).

       The CLRA cause of action specifically alleges that:

               101. In offering the Subject Vehicles for sale to the public, Mercedes-
       Benz has represented, and will continue to represent, directly or by implication,
       that consumers would be able to use the Subject Vehicles for approximately
       170,000 miles before the camshaft adjusters would have to be replaced.
       Notwithstanding that representation, the Subject Vehicles’ camshaft adjusters
       have been and will continue to be inherently and unreasonable subject to
       premature failure, which in turn has required and will continue to require Plaintiff
       and members of the Class to incur costs and expenses to replace the camshaft
       adjusters and any attendant damage to other engine components.

              102. Had Plaintiff and members of the Class been informed of the
       camshaft adjuster latent defect in Mercedes-Benz’s various brochures that
       Mercedes-Benz published on the Subject Vehicles, on its website, in the
       maintenance booklet, or the in the trade press, they would not have purchased the
       Subject Vehicles at the price paid or would have purchased or leased a different
       model or purchased or leased from a different manufacturer of vehicles.
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                                                                         Conn to Yoshino
                                                                           July 15, 2020
                                                                              Page 2 of 3

       103. At all relevant times, Mercedes-Benz knew that Plaintiff and
members of the Class did not know or could not have reasonably discovered the
problem prior to purchasing the Subject Vehicles. Mercedes-Benz had a duty to
disclose the material facts clearly and conspicuously at the time of sale given (1)
the materiality of the information; (2) the safety risk posed by the design defect;
(3) Mercedes-Benz’s exclusive knowledge of material facts not known to Plaintiff
and members of the Class; and (4) Mercedes-Benz’s active concealment of
material facts from Plaintiff and members of the Class.

(Complaint ¶¶ 101-103)

The Complaint alleges particular violations of California Civil Code § 1770:

       104. By virtue of this ongoing practice and course of conduct,
Mercedes-Benz has violated and will continue to violate section 1770(a)(5) of the
CLRA by representing that the camshaft adjusters and Subject Vehicles have
characteristics, uses, and benefits, which they do not have.

        105. By virtue of this ongoing practice and course of conduct,
Mercedes-Benz has violated and will continue to violate section 1770(a)(7) of the
CLRA by representing that the camshaft adjusters and the Subject Vehicles are of
a particular standard or quality when they are not of the standard or quality.

         106. By virtue of this ongoing practice and course of conduct,
Mercedes-Benz has violated and will continue to violate section 1770(a)(14) of
the CLRA by representing that the Subject Vehicles would have a useful engine
life of approximately 170,000 miles before the camshaft adjusters would fail or
need to be replaced.

(Complaint ¶¶ 104-106)

And the May 26 Letter demands specific corrective action, namely, that MBUSA:

1. [Conduct] a recall of all 2012-2014 Mercedes-Benz C250 vehicles in
   California and [replace] the intake and exhaust camshaft adjusters at no
   expense to the owners of the vehicles;

2. [Send] a letter to the last known address of every known owner in California
   of a 2012-2014 model year Mercedes-Benz C250 vehicle, notifying them that
   Mercedes-Benz will fully reimburse any costs or expenses previously incurred
   in connection with replacing their vehicles intake and/or exhaust camshaft
   adjusters;

3. [Agree] to cover under warranty, defective camshaft adjusters on all 2012-
   2014 Mercedes-Benz C250 vehicles for a period of 170,000 miles/17 years;
   and

4. [Publish] a notice in the Wall Street Journal, Los Angeles Times, San
   Francisco Chronicle, and USA Today, advising current and former owners of
   2012-2014 Mercedes-Benz C250 vehicles in California of their right to
   receive reimbursement for any expenses incurred in connection with the
   defective camshaft adjusters in the past and to have any future expenses
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                                                                                   Conn to Yoshino
                                                                                     July 15, 2020
                                                                                        Page 3 of 3

            covered under Mercedes-Benz’s warranty for a period of 170,000 miles/17
            years. The notice shall also be published on a website established and
            maintained by Mercedes-Benz for at least one year.

         The May 26, 2020 Letter satisfies the requirements of California Civil Code § 1782(a)
and provides MBUSA with “sufficient notice of alleged defects to permit appropriate corrections
or replacements.” See Seifi v. Mercedes-Benz USA, LLC, No. C12-5493 TEH, 2013 WL
5568449, at *8 (N.D. Cal. Oct. 9, 2013) (quoting Outboard Marine Corp. v. Superior Court, 52
Cal. App. 3d 30, 40 (Ct. App. 1975)); see also In re Easysaver Rewards Litig., 737 F. Supp. 2d
1159, 1178–79 (S.D. Cal. 2010) (“The Court finds Plaintiffs' notice letter satisfies the pre-filing
notice requirement because it explicitly alleges violations of CLRA. . . . The first page of the
letter explains in plain language the conduct that Plaintiffs allege violates the statute. The second
page lists five sub-sections of the CLRA, and asks for specific corrections and remedies. The
content of the letter suffices to put [defendant] on notice of the alleged CLRA violations.”)

       Despite ample notice, MBUSA has failed to provide appropriate corrective action.

         As alleged in the Complaint (and as I am sure your preliminary investigation has
confirmed), the ongoing premature failure of the camshaft adjusters in the 2012-2014 Mercedes-
Benz C250 vehicles continues to impose tremendous injury on thousands of MBUSA’s
customers, with the number of injured customers increasing daily. To avoid prejudice to these
MBUSA customers (and putative class members), I must decline your request for a 30-day
litigation hold. I have now filed a First Amended Complaint, seeking damages under the CLRA,
which I have enclosed with this letter.

         Certainly, if MBUSA is truly interested in providing “CLRA ‘corrective action’” and
doing right by its customers, we would be open to an early class-wide resolution. Please give me
a call if you would like to discuss class settlement.

                                         Very truly yours,



                                            Elliot Conn

Enclosure

CC: Brian Warwick
Case 4:20-cv-05719-JST Document 88 Filed 07/22/22 Page 76 of 128




                Exhibit 6
                      Case 4:20-cv-05719-JST Document 88 Filed 07/22/22 Page 77 of 128


Elliot Conn

From:                      Amoedo, Alfredo W. <alfredo.amoedo@squirepb.com>
Sent:                      Monday, August 3, 2020 4:21 PM
To:                        Elliot Conn
Subject:                   Guan v. MBUSA - Agreement re Anticipated Motion to Dismiss Briefing Schedule [I-AMS.FID4813852]


Elliot,

Thanks again for taking the time to talk about the Guan v. MBUSA matter. As we discussed, we’ve agreed to 30/30/14‐
day briefing schedule on MBUSA’s anticipated motion to dismiss. We’ll circulate a draft stipulation and proposed order
for your review as soon as the action has been removed.

Thank you again,

Alfredo

                            Alfredo W. Amoedo
                            Senior Associate
                            Squire Patton Boggs (US) LLP
                            275 Battery Street, Suite 2600
                            San Francisco, California 94111
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                            O +1 415 954 0200
                            F +1 415 393 9887
                            M +1 805 415 2577
                            alfredo.amoedo@squirepb.com | squirepattonboggs.com




‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
45 Offices in 20 Countries.

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                                                                        1
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                Exhibit 7
                     Case 4:20-cv-05719-JST Document 88 Filed 07/22/22 Page 79 of 128


Elliot Conn

From:                   Amoedo, Alfredo W. <alfredo.amoedo@squirepb.com>
Sent:                   Wednesday, September 9, 2020 11:50 AM
To:                     Elliot Conn
Cc:                     Knapp, Eric J.; Spencer Janssen; Janet Varnell; Brian Warwick; Matthew Peterson
Subject:                RE: Guan v. MBUSA


Elliot,

MBUSA consents to treating these initial documents as confidential pursuant to the terms of the ND Cal. Model
Protective Order; however, we’d like your agreement to meet and confer on a draft protective order down the road, if
necessary, as MBUSA typically insists on two tiers of confidentiality designations (“confidential” and “highly‐
confidential”) which are not provided for by the Model Protective Order. In the past, this has not been an issue with
opposing counsel but please let us know if plaintiff’s will consent to meeting and conferring on this issue if necessary. If
you agree, we’ll get you the extended warranty campaign documents today, which will address your questions
below. Note, this is not a recall, it is an extended warranty campaign.

Alfredo

Alfredo W. Amoedo
Squire Patton Boggs (US) LLP
T +1 415 954 0238
M +1 805 415 2577


From: Elliot Conn <elliot@connlawpc.com>
Sent: Wednesday, September 9, 2020 11:03 AM
To: Amoedo, Alfredo W. <alfredo.amoedo@squirepb.com>
Cc: Knapp, Eric J. <eric.knapp@squirepb.com>; Spencer Janssen <spencer@connlawpc.com>; Janet Varnell
<jvarnell@varnellandwarwick.com>; Brian Warwick <bwarwick@varnellandwarwick.com>; Matthew Peterson
<mpeterson@varnellandwarwick.com>
Subject: [EXT] RE: Guan v. MBUSA

Alfredo,

           I have copied my co‐counsel on this email. Please include them in future correspondence.

      We would be happy to enter into the Northern District’s Model Protective Order and have you produce the
documents related to the pending recall that we discussed pursuant to that PO.

        During our recent call, told me that a recall was in the works for the cam shaft adjusters on class
vehicles. However, I’ve been monitoring the NHTSA website and haven’t seen anything mentioning recent recalls for the
class vehicles. Please provide us with details regarding the recall, including the process for obtaining repairs and the
amount of any reimbursements to be made to class members who have already paid to have these repairs
made. Thanks.

           ‐Elliot


Elliot J. Conn
Conn Law, PC

                                                               1
                         Case 4:20-cv-05719-JST Document 88 Filed 07/22/22 Page 80 of 128
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From: Amoedo, Alfredo W. <alfredo.amoedo@squirepb.com>
Sent: Tuesday, September 8, 2020 7:42 AM
To: Elliot Conn <elliot@connlawpc.com>; Spencer Janssen <spencer@connlawpc.com>
Cc: Knapp, Eric J. <eric.knapp@squirepb.com>
Subject: Guan v. MBUSA

Counsel, following up on our recent discussion, we have some materials for your review regarding the extended
warranty campaign we discussed. Before we transmit them, we would like your written consent to treat the materials
as confidential and subject to any protective order ultimately entered into in this matter. With your consent, we will
transmit the materials later today.

Thank you,

Alfredo


                                  Alfredo W. Amoedo
                                  Senior Associate
                                  Squire Patton Boggs (US) LLP
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                                  San Francisco, California 94111
                                  T +1 415 954 0238
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---------------------------------------------------------------------
45 Offices in 20 Countries.

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#US
---------------------------------------------------------------------




                                                                   3
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                Exhibit 8
                 Case 4:20-cv-05719-JST Document 88 Filed 07/22/22 Page 83 of 128


Elliot Conn

From:                              Elliot Conn
Sent:                              Friday, September 11, 2020 11:22 AM
To:                                Amoedo, Alfredo W.
Cc:                                Knapp, Eric J.; Spencer Janssen; Janet Varnell; Brian Warwick; Matthew Peterson
Subject:                           RE: Guan v. MBUSA


Alfredo,

          Thank you for sending that over. When we initially spoke, I was under the impression that a National Highway
Traffic Safety Administration (“NHTSA”) supervised recall for the camshaft adjusters in the class vehicles was imminent.
This seems not to be the case. The somewhat vague declaration that you provided, stating that Mercedes-Benz might
extend the warranty on the class vehicles at some point in the future, does not “moot” our case. As an initial matter, the
extended warranty “campaign” has not been implemented. And even if Mercedes-Benz does go forward with the
“campaign,” without a court judgment, or an official NHTSA recall process, Mercedes-Benz could terminate the
“campaign” at any time. Temporary voluntary cessation of bad conduct does “moot” a class action.

          And the proposed “campaign” itself is insufficient and does not address the concerns set forth in our May 26,
2020 CLRA letter or in the First Amended Complaint. Under the “campaign,” Mercedes-Benz has the discretion to deny
reimbursement to any customer (including Ying Guan) who had their vehicles repaired at non-Mercedes-Benz repair
facilities. The “campaign” does not set forth any reimbursement limits, does not provide reimbursement for any of the
attendant parts that also needed to be replaced in connection with replacing the camshaft adjusters (e.g. the timing
chain tensioner and related seals and gaskets), does not extend the warranty for the full period of time demanded, and
does provide sufficient notice to the impacted owners. This notice is critical for a multitude of reasons including that
vehicle owners are entitled to know the existence of the problem, the potential safety hazards presented by the
problem, the instructions for how consumers can get the problem corrected, a clear explanation that they are entitled
to have the correction done at no charge, inform them when the remedy will be available, how long the remedy will
take to perform, and whom to contact if there is a problem in obtaining the free recall work. From the declaration, it is
clear that Mercedes-Benz has not fixed the underlying issue. Furthermore, consumers have the right to repair,
replacement, or refund. This includes reimbursement for certain costs incurred by owners to remedy the defective
conditions prior to a recall for a period of one year prior to the manufacturer’s notification of defect to NHTSA. Finally,
Owners are entitled to additional remedies outside of the standard recall remedies. The “campaign” does not provide
any diminution in value relief arising out of the fact that even with an extended warranty, these vehicles are still
inherently defective. Many Owners will have already traded in or sold their defective vehicles.

         If this “campaign” had been “decided” “[l]ong before plaintiff served her CLRA Demand Letter,” it is concerning
that it was not mentioned in your office’s June 25, 2020 response.

         We have already stipulated to extend your deadline to respond to the First Amended Complaint from August
21, 2020 to September 14, 2020. We would like to push forward with the case so we can get full relief to the class as
quickly as possible. Please file your response to the complaint by September 14, as previously agreed.

                                                     Very truly yours,


                                                        Elliot Conn


Elliot J. Conn
Conn Law, PC
                                                             1
                         Case 4:20-cv-05719-JST Document 88 Filed 07/22/22 Page 84 of 128
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From: Amoedo, Alfredo W. <alfredo.amoedo@squirepb.com>
Sent: Wednesday, September 9, 2020 1:03 PM
To: Elliot Conn <elliot@connlawpc.com>
Cc: Knapp, Eric J. <eric.knapp@squirepb.com>; Spencer Janssen <spencer@connlawpc.com>; Janet Varnell
<jvarnell@varnellandwarwick.com>; Brian Warwick <bwarwick@varnellandwarwick.com>; Matthew Peterson
<mpeterson@varnellandwarwick.com>
Subject: RE: Guan v. MBUSA

Elliot,

That is acceptable to us. Thus, per the attached and as we recently discussed, long before your client’s demand letter or
complaint, a decision was made to implement an extended warranty and reimbursement campaign with regard to the
camshaft adjusters installed in the proposed class vehicles (including your client’s). The attached declaration and
exhibits confirm these facts. As such, your client’s claims are essentially moot and neither her nor the class have a viable
cause of action or damages. We again request that your client dismiss this action voluntarily and avail herself of the
remedies provided by the upcoming extended warranty and reimbursement campaign which is expected to launch
shortly. We understand you will need to time discuss the attached, and believe it is in everyone’s best interest to
further extend the deadline for MBUSA to respond to the complaint, and for plaintiff to respond, to ensure the Court
and parties do not expend additional unnecessary resources and costs on this action. We are available at your
convenience to discuss.

Regards,

Alfredo

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From: Elliot Conn <elliot@connlawpc.com>
Sent: Wednesday, September 9, 2020 12:07 PM
To: Amoedo, Alfredo W. <alfredo.amoedo@squirepb.com>
Cc: Knapp, Eric J. <eric.knapp@squirepb.com>; Spencer Janssen <spencer@connlawpc.com>; Janet Varnell
<jvarnell@varnellandwarwick.com>; Brian Warwick <bwarwick@varnellandwarwick.com>; Matthew Peterson
<mpeterson@varnellandwarwick.com>
Subject: [EXT] RE: Guan v. MBUSA

Happy to meet and confer regarding the terms later, provided that we will be able to challenge any confidentiality
designation of the documents that you are now providing in the manner set forth in Section 6 of the Northern District
model Protective order.

-Elliot

Elliot J. Conn
Conn Law, PC
                                                                                            2
                         Case 4:20-cv-05719-JST Document 88 Filed 07/22/22 Page 85 of 128
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From: Amoedo, Alfredo W. <alfredo.amoedo@squirepb.com>
Sent: Wednesday, September 9, 2020 11:50 AM
To: Elliot Conn <elliot@connlawpc.com>
Cc: Knapp, Eric J. <eric.knapp@squirepb.com>; Spencer Janssen <spencer@connlawpc.com>; Janet Varnell
<jvarnell@varnellandwarwick.com>; Brian Warwick <bwarwick@varnellandwarwick.com>; Matthew Peterson
<mpeterson@varnellandwarwick.com>
Subject: RE: Guan v. MBUSA

Elliot,

MBUSA consents to treating these initial documents as confidential pursuant to the terms of the ND Cal. Model
Protective Order; however, we’d like your agreement to meet and confer on a draft protective order down the road, if
necessary, as MBUSA typically insists on two tiers of confidentiality designations (“confidential” and “highly-
confidential”) which are not provided for by the Model Protective Order. In the past, this has not been an issue with
opposing counsel but please let us know if plaintiff’s will consent to meeting and conferring on this issue if necessary. If
you agree, we’ll get you the extended warranty campaign documents today, which will address your questions
below. Note, this is not a recall, it is an extended warranty campaign.

Alfredo

Alfredo W. Amoedo
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T +1 415 954 0238
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From: Elliot Conn <elliot@connlawpc.com>
Sent: Wednesday, September 9, 2020 11:03 AM
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Cc: Knapp, Eric J. <eric.knapp@squirepb.com>; Spencer Janssen <spencer@connlawpc.com>; Janet Varnell
<jvarnell@varnellandwarwick.com>; Brian Warwick <bwarwick@varnellandwarwick.com>; Matthew Peterson
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amount of any reimbursements to be made to class members who have already paid to have these repairs
made. Thanks.

                                                                                            3
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                Exhibit 9
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                           EXHIBIT
                                                 exhibitsticker.com




                         Roopnarine Exhibit 14
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              Exhibit 10
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                          Shaun 88   Filed 07/22/22 Page 91 of 128
                                  Roopnarine

 1                    UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA
 2                             OAKLAND DIVISION
 3   ---------------------------------§
     YING YING GUAN, individually, on §
 4   behalf of all others similarly           §
     situated, and on behalf of the           §
 5   general public,                          § Case No.
                                              § 4:20-cv-05719 (JST)
 6         Plaintiffs,                        §
                                              §
 7   vs.                                      §
                                              §
 8   MERCEDES-BENZ USA, LLC; and              §
     DOES1 through 50, inclusive,             §
 9                                            §
           Defendants.                        §
10   -------------------------------- §
       - - -
11
12                                   - - -
13                       Wednesday, April 20, 2022
14                                   - - -
15
16                This is the Remote Deposition of
17          SHAUN ROOPNARINE, commencing at 1:52 p.m., on the
18          above date, before Kelly J. Lawton, Registered
19          Professional Reporter, Certified Court Reporter,
20          and Licensed Court Reporter.
21
22
23                                   - - -
24                      GOLKOW LITIGATION SERVICES
                   877.370.3377 ph | 917.591.5672 fax
25                            deps@golkow.com



Golkow Litigation Services                                           Page 1
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                          Shaun 88   Filed 07/22/22 Page 92 of 128
                                  Roopnarine

 1         A.     Yes, I am.

 2         Q.     Who is your employer?

 3         A.     Mercedes-Benz USA, LLC.

 4         Q.     And how long have you been employed at

 5     Mercedes-Benz USA, LLC?

 6         A.     Since 2008.

 7         Q.     Okay.   What's your current position?

 8         A.     I'm the supervisor of environmental

 9     compliance.

10         Q.     How long have you held that position?

11         A.     I've been in the supervisor role for

12     approximately three years or so.

13         Q.     Okay.   And what was your position before

14     that?

15         A.     I was the regulatory engineer for

16     environmental compliance.

17         Q.     How long did you hold that position?

18         A.     For the difference from 2008 to about three

19     years ago.

20         Q.     Okay.   And then -- so you said you got your

21     masters in 2008, and you started in Mercedes-Benz at

22     2008?

23         A.     That's correct.

24         Q.     Was this your first job out of school?

25         A.     No, it's not my first job.




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 1         Q.     So --

 2         A.     -- my manager.

 3         Q.     Okay.    Is this when you became the

 4     supervisor?

 5         A.     Yeah.    I believe this was shortly after I

 6     became supervisor.

 7         Q.     Okay.

 8         A.     Yeah.

 9         Q.     At the time that you became supervisor, do

10     you know whether this extended warranty had already

11     been ongoing?

12         A.     No, I did not.

13         Q.     You don't know either way?

14         A.     At the time when I became --

15         Q.     Yeah.

16         A.     -- supervisor?

17         Q.     Yes.

18         A.     I do not recall.

19         Q.     Okay.

20         A.     Yeah.

21         Q.     Well, I'm trying to ask what was already

22     ongoing when you became supervisor, or did you become

23     supervisor and then it started?

24         A.     No.    So I do -- I do -- after I started

25     working on the topic, I became aware that this topic




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 1     has been going on for some time.

 2         Q.     Okay.   Do you know when the topic, I guess,

 3     first arose?

 4         A.     I have an idea, just based on some

 5     communications with warranty, that it started in mid

 6     of 2018, but I -- that's all the information I have

 7     from warranty.

 8         Q.     So who have you communicated with at

 9     warranty?

10         A.     Her name is Maureen Shuart.

11         Q.     Okay.   And what did she tell you?

12         A.     She told us that -- when we were preparing to

13     launch the campaign, she told us that the -- there

14     were rules already input, warranty-related rules in

15     the warranty system, since June of 2018, which she

16     had to block at that time until -- until we were able

17     to actually launch the campaign in the U.S., and then

18     she would unblock them.

19         Q.     So do you know what the rules were set in

20     place for?

21         A.     I believe they were just warranty-related

22     rules to save coding that would allow the extension

23     of a specific damage code to ten years,

24     120,000 miles, something of that nature.

25         Q.     Could you sort of explain in layman's terms




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 1     be blocked with respect to the M271 vehicles, right?

 2         A.     That's correct.

 3         Q.     Okay.   Do you know when those warranty codes

 4     went into place?

 5         A.     The warranty codes went into place once we

 6     launched the campaign.

 7         Q.     I'm sorry.    Maybe I'm a little confused.         I

 8     thought you said in 2018 that there were warranty

 9     codes already in place?

10         A.     There were codes input into the system that

11     Maureen blocked.

12         Q.     Okay.   So what -- did you have any knowledge

13     about the codes that were input in the system in

14     2018?

15         A.     No, I did not.

16         Q.     Okay.   Do you know when those codes were

17     inputted?

18         A.     Well, Maureen indicated they were inputted on

19     six -- in June of 2018.

20         Q.     Okay.

21         A.     And it was inputted by MBAG.

22         Q.     And so I just, kind of, broad picture, were

23     those codes -- did those codes extend the warranty on

24     the camshaft adjusters on the M271 vehicles?

25         A.     Yeah.   That's how we would capture warranty




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 1     extensions or any additional warranties, by damage

 2     codes input into the system with some additional

 3     flagging and coding.      Maureen would speak better to

 4     that.

 5         Q.     Well --

 6         A.     Yeah.

 7         Q.     I just want to make sure.        So it's your

 8     understanding that on June 6th, 2018, Mercedes-Benz

 9     AG extended the warranty on the M271 vehicles?

10                MR. KNAPP:    Object to form.

11     BY MR. CONN:

12         Q.     Sorry.    For the camshaft adjusters?

13                MR. KNAPP:    Same objection.

14         A.     I'm not understanding the question.

15         Q.     All right.    Let me ask it another way.

16                So when were the codes -- so when were the

17     codes that were input in -- in June 2018 blocked?

18         A.     I wouldn't -- I don't know when Maureen

19     blocked them but, typically, she would have to block

20     them immediately unless -- otherwise customers would

21     be receiving coverage, and we cannot provide coverage

22     unless we have approval from CARB for any

23     campaigns --

24         Q.     Okay.

25         A.     -- in the U.S., emissions campaigns.          So not




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 1     until we receive approval.

 2         Q.     So someone from MBAG in 2018 puts in these

 3     codes, and then at some point quickly after that,

 4     Ms. Shuart has to block them because there was not

 5     approval on the extended warranty?

 6         A.     That's correct.

 7         Q.     Okay.   And then, at some point, the codes

 8     were unblocked or were new codes put in?

 9         A.     I'm not sure if new codes were put in, but

10     whatever was in there would have to be activated at

11     the time of launch of the campaign, modified or

12     activated according to whatever the campaign ended up

13     being.

14         Q.     Okay.   So -- and Ms. Shuart would be the one

15     to know what the codes were and what vehicles they

16     covered?

17         A.     Absolutely.    Absolutely, yes.      Yeah.

18         Q.     Okay.   So at some point on or before

19     June 6th, 2018, based off the fact that codes were

20     inputted, Mercedes-Benz AG made a decision to extend

21     the warranty on the camshaft adjusters for the M271

22     vehicles; is that correct?

23         A.     That would be the intent.

24         Q.     Okay.

25         A.     I couldn't tell you if it was a warranty




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 1     extension, but it would have been a campaign.

 2         Q.     Okay.

 3         A.     Some form of a campaign.

 4         Q.     And it's your understanding that

 5     Mercedes-Benz USA cannot implement that until there's

 6     CARB approval?

 7         A.     That is correct.

 8         Q.     Okay.   So until the codes were activated,

 9     customers were not told that there's any extended

10     warranty on the camshaft adjuster M271 vehicles?

11         A.     They shouldn't be aware of that, no.

12         Q.     And if a -- before the codes were activated,

13     if a customer, you know, took a vehicle and it was

14     repaired outside of the express warranty period for

15     an issue with the camshaft adjuster, would that be

16     covered under warranty?

17                MR. KNAPP:    Object to form.

18         A.     Okay.   If you could just elaborate on the

19     question.

20                MR. CONN:    Madam Court Reporter, can you

21         repeat the question?

22                THE COURT REPORTER:      Yes.

23                "And if a -- before the codes were activated,

24         if a customer, you know, took a vehicle and it

25         was repaired outside of the express warranty




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 1         A.     Yeah.   If you can rephrase the question.

 2         Q.     Do you know when the -- am I correct in

 3     saying that the initial decision to launch the

 4     extended warranty campaign for the camshaft adjuster,

 5     in at least some of the M271 vehicles, was started in

 6     mid-2018?

 7                MR. KNAPP:    Object to form.

 8         A.     That, I would be speculating.        That's -- all

 9     I know is that's when the codes were entered.

10         Q.     Okay.   It then says, "Pending updated address

11     file from IHS/Polk."

12                Do you know what IHS stands for?

13         A.     That's the company, Polk, the abbreviation

14     for their name.     I can't recall the acronym off the

15     top of my head.     I can't recall it.

16         Q.     Okay.   I just want to, again, ask you who

17     certain people are.

18                Who's Friedrich Krahn?

19         A.     So Friedrich Krahn, he is -- he is on the

20     QMRCF team at MBAG.

21         Q.     Is he still there?

22         A.     I'm not sure if he's still there.

23         Q.     Who is Christian Schwarzer?

24         A.     Also on the QMR -- MBAG.

25         Q.     Okay.   And then who is Harold Jauss?




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                                  Roopnarine

 1     BY MR. CONN:

 2          Q.    Do you recognize this document?

 3          A.    I'm just downloading the file now.

 4                Okay.   Give me a moment to take a look.

 5                Yes, I recognize this e-mail.

 6          Q.    All right.    And so the first page, 3393, what

 7     is this e-mail?

 8          A.    Okay.   What do you mean 3393, the name of the

 9     file?

10          Q.    If you look in the bottom right corner,

11     they're called Bates stamp numbers.          They're used in

12     litigation to number things; so this is Page 3393 of

13     the documents produced by Mercedes-Benz USA in the

14     case.

15          A.    All right.    So this is Page 1 of 2 of this

16     Exhibit 4?

17          Q.    Yeah.

18          A.    Those are fault codes that would be

19     associated with the failure of a camshaft adjuster.

20          Q.    Okay.   And so would these fault codes be

21     required in order to get coverage under the extended

22     warranty?

23          A.    Initially, we wanted to incorporate that as a

24     check for dealers only in order to ensure that the

25     dealers do their due diligence and not just replace




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 1     components without checking to see if they're

 2     actually failed.

 3          Q.    Why do you believe this check is necessary?

 4          A.    So -- so if dealers do not see a fault code,

 5     there's probably nothing wrong with the camshaft

 6     adjuster, typically, and, therefore, we do not want

 7     the dealer to just replace the components unless they

 8     confirm that it has failed.        And because these are

 9     emissions-relevant components, a fault code should be

10     present if the component is not working correctly.

11          Q.    And do you rely on Mr. Casado Blanco to

12     determine what fault codes are?

13          A.    For this familiar topic, we -- I believe he

14     was the contact to help support that.

15          Q.    Okay.   And you said, initially, you required

16     the fault code as dealer check.

17                Has that changed?

18          A.    Yeah.

19          Q.    How has that changed?

20          A.    There are -- we went through a few different

21     iterations of dealer notifications to, essentially,

22     become more in line with our customer letter.

23                Initially, we wanted dealers to ensure that

24     there's a fault code before you replace it, and then

25     in the end, we -- you know, we had some feedback from




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 1     our warranty colleagues, from our dealers via our

 2     warranty colleagues, about, just, questions and

 3     complaints that, you know, sometimes there may not be

 4     a fault code present or there might be noise.            And we

 5     would like to replace it just for customer

 6     satisfaction, even though it's technically not

 7     failed.

 8                And so we heard those complaints and decided

 9     to send out updated dealer notifications to mention,

10     Okay, if you have a fault code, then submit a scan of

11     the vehicle showing that this fault code is present.

12     And that's usually done to make sure that dealers

13     aren't changing a part -- changing a part without

14     doing their due diligence.

15                Or if you don't have a fault code, for

16     whatever reason, then we updated the latest NCU to

17     include an LI, which is also referred -- LI stands

18     for local information report.        It's a guided test

19     that -- that should address any noise complaints

20     that -- any noise complaints, based on the feedback

21     that we received from the dealers via our warranty

22     colleagues.

23          Q.    When did that change occur?

24          A.    Okay.   That would have been -- I think that

25     was done on the last -- the most latest dealer




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 1     notification.      I think that was sent out in May of

 2     2020, if I recall correctly.        You would have to check

 3     whenever the last NCU was issued.

 4          Q.    I'm sorry.    May of 2020?

 5          A.    I believe so.

 6          Q.    Okay.   And that -- sorry.      What was the local

 7     information report?

 8          A.    I'm sorry.    It might have been -- let me

 9     think about this for a second, all right?

10                So it might have been 2020 or 2021.         I

11     apologize.    I don't remember exactly.        But it was the

12     last version of the NCU, which I'm sure we can bring

13     up and take a look at.

14          Q.    And that -- can you describe what the local

15     information report is?

16          A.    The local information report?

17          Q.    Yeah.

18          A.    It's just a -- it's a guided test that

19     addresses noise.

20          Q.    And I'm sorry, I -- you know, I don't know if

21     I overlooked the production, but I -- this is the

22     first time I'm hearing of this.

23                Can you -- and so normally, I would try and,

24     you know, show you a document to help you with it,

25     but -- in the next break, I'll look to see if there's




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 1     specific campaign?

 2          A.    That's correct.

 3          Q.    All right.    And go to Page 2 -- Page 2 and 3.

 4          A.    Okay.   Page 2.

 5          Q.    Do you recognize this document?

 6          A.    So this is the news channel update.         Yes.

 7     That was dated October 30th.

 8          Q.    And is this the news channel update that was

 9     provided to the dealerships at the beginning of

10     the -- at the launch of the campaign for the camshaft

11     adjusters?

12          A.    Yeah, that's correct.

13          Q.    Okay.   And so at this time, in order to get

14     warranty reimbursement, fault codes would be needed;

15     is that correct?

16          A.    Yeah.   So it says in the document -- all

17     right.

18                So "Please be advised that all camshaft

19     adjusters being claimed under warranty must have a

20     short test with fault code attached."

21          Q.    Okay.   And we spoke earlier about an LI,

22     which was later added for noise verification?

23          A.    That is correct, yeah.

24          Q.    And that wasn't implemented as part of this

25     news channel update?




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 1     of 2939, says, "Often, we get customer complaints of

 2     the adjuster making a very loud noise, but has not

 3     'failed enough' to set a code.        How would you like

 4     this to be addressed, as the NCU indicates the need

 5     for a diagnostic trouble code?"

 6                And it looks like Fahad responded, "Thank you

 7     for reaching out.      The camshaft adjuster replacement

 8     is covered under this extended warranty if it sets

 9     the fault codes mentioned in the NCU.

10                "Customers receive reimbursement if they had

11     previously paid to replace the camshaft adjuster, but

12     they need to provide documentation on the fault codes

13     presence."

14                Did -- at the time, did you agree with

15     Fahad's statement?

16          A.    Yes, I did, yeah.

17          Q.    Okay.   So -- and just to be clear, at this

18     time in November 2020, in order to get coverage under

19     the extended warranty, one of the identified fault

20     codes has to be present?

21          A.    Yes.

22          Q.    And the noise wasn't enough?

23          A.    The noise wasn't enough.

24                In other words, we didn't consider the noise

25     as a type of failure.




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 1          Q.    And in order to get reimbursement, they would

 2     have to also -- for a prior repair, they would have

 3     to show that, at the time of the repair, a fault code

 4     was present; is that accurate?

 5          A.    Correct.

 6          Q.    Has this latter requirement changed?

 7          A.    Yes.

 8          Q.    Okay.    When did that change?

 9          A.    It changed a few times.       It changed in

10     November.

11                You know, this would have been one of those

12     e-mails that prompted us to consider the voice of the

13     field.    Here, they're telling us, Have you guys

14     considered noise?      And, no, we did not consider

15     noise.    But, you know, our letter and our campaign

16     says, it's gotta have a fault code, but we're going

17     to have those discussions with Germany, and we'll get

18     back to you.

19                And we ended up changing it a few times.

20          Q.    Okay.

21          A.    There were a few different instances here.

22          Q.    So with regards specifically to the

23     reimbursement for prior repairs, has that changed?

24          A.    No.    Reimbursement can happen any time.

25          Q.    No, I mean, the requirement -- sorry.




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 1                Has the requirement that in order to get

 2     reimbursement, that the customer has to show

 3     documentation of the fault code at the time of the

 4     repair, has that changed?

 5          A.    We did make -- I don't believe we mentioned

 6     anything like that in the customer letter, that they

 7     need to have fault codes.       That was communicated to

 8     the dealer.

 9          Q.    Okay.   So at the time that this e-mail was

10     sent, November 13th, 2020, did the customer need to

11     show fault codes at the time of the repair in order

12     to get reimbursement for prior repairs?

13          A.    So in the customer letter, I don't think we

14     made any statements that they have to have fault

15     codes present.     It would just be covered.        If the

16     root cause would -- after the dealer does their

17     vehicle diagnostics, and they determine that the

18     camshaft adjuster needs to be replaced, it would

19     be -- it would be -- correct, that's the customer's

20     understanding.

21          Q.    Maybe I'm not being clear.

22                So the -- this initial letter going back to

23     Exhibit 15.

24          A.    Okay.   Exhibit 15.     Okay.

25                The supplemental?




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 1     the customer letter and what was communicated on NCU,

 2     which is looking at the problem from, like, a

 3     30,000-foot level, a high-level review of that.               If

 4     the camshaft adjuster needs to be replaced, the

 5     dealer will replace it by checking fault codes.               And

 6     if there's a fault code, then they will replace it.

 7                He's tying both things together here.

 8          Q.    Okay.   But, specifically, to get reimbursed

 9     for repairs that the customer has already paid for,

10     according to this e-mail, what --

11          A.    According to that, that's how it reads.

12     Customers could receive reimbursement if they had

13     previously paid to replace the camshaft adjuster, but

14     they need to provide documentation on the fault code

15     presence.

16          Q.    Okay.   Is that an accurate -- is that -- from

17     your understanding, was that accurate of what the

18     procedure was at the time?

19          A.    It's not very accurate at that point because

20     the customer didn't -- we didn't communicate that

21     with the customer letter.

22          Q.    Okay.

23          A.    The customer wasn't aware that they have to

24     provide fault codes.

25          Q.    So regardless of what the customer is aware




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 1     of, was Mercedes-Benz at the time requiring customers

 2     to provide fault codes?

 3          A.    Can you repeat the question?

 4          Q.    Regardless of whether this was communicated

 5     in the letter to the customer, in order to get

 6     reimbursement for prior repairs, was Mercedes-Benz

 7     requiring its dealers to obtain -- to have the

 8     customers provide documentation of the fault codes at

 9     the time of the prior repair?

10          A.    Okay.   That makes more sense.

11                So, yes, we were requiring the dealers to

12     request fault code information from the customers if

13     they -- for reimbursement.

14          Q.    Okay.   This is the last part.

15                Has that policy changed?

16          A.    Yes, it has.

17          Q.    When did that change?

18          A.    It would have changed when we launched the

19     last NCU, where we said, If you don't have fault

20     codes, then follow the LI.

21          Q.    Okay.   But how do you follow the LI for a

22     repair that already happened?

23          A.    So if it already happened, most likely what

24     happens is a customer would probably challenge the

25     dealer and say, Well, it doesn't say anything about




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 1                         C E R T I F I C A T E

 2                I, KELLY J. LAWTON, Registered Professional

 3     Reporter, Licensed Court Reporter, and Certified

 4     Court Reporter, do hereby certify that prior to the

 5     commencement of the examination, SHAUN ROOPNARINE,

 6     was duly remotely sworn by me to testify to the

 7     truth, the whole truth, and nothing but the truth.

 8                I do further certify that the foregoing is a

 9     verbatim transcript of the testimony as taken

10     stenographically by me at the time, place, and on the

11     date hereinbefore set forth, to the best of my

12     ability.

13                I do further certify that I am neither a

14     relative nor employee nor attorney not counsel of any

15     of the parties of this action, and that I am neither

16     a relative nor employee of such attorney or counsel,

17     and that I am not financially interested in the

18     action.

19

20                _____________________________________________

21                KELLY J. LAWTON, RPR, LCR, CCR

22                (The foregoing certification of this

23     transcript does not apply to any reproduction of the

24     same by any means, unless under the direct control

25     and/or supervision of the certifying reporter.)




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 1              UNITED STATES DISTRICT COURT

 2             NORTHERN DISTRICT OF CALIFORNIA

 3                      OAKLAND DIVISION

 4

 5    CASE NUMBER: 4:20-CV-05719 (JST)

 6

 7    YING YING GUAN, individually, on behalf of all

 8    others similarly situated, and on behalf of

 9    the general public,

10              Plaintiff,

11          vs.

12    MERCEDES-BENZ USA, LLC; and DOES 1 through 50,

13    inclusive,

14              Defendants.

15

16

17                    REMOTE DEPOSITION

18                               OF

19                       FAHAD SAADAT

20                       April 28, 2022

21

22

23    REPORTED BY:

24              J. Ashley Arrowood, RPR, CRR

25                Golkow Litigation Services



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 1                    So on this one, basically the

 2    language came from Germany because they're

 3    the one who are more knowledgeable on the

 4    topic when it comes to the damage, the fault

 5    code types.

 6                    So I think they made the changes

 7    that this extended warranty applies to the

 8    replacement of camshaft adjuster if the

 9    vehicle falls within the scope of the

10    extended warranty; for example, within the

11    time/mileage limitation and where the

12    replacement of the part is for a warrantable

13    condition as set forth below.

14                    And what they did is --

15    basically they included that if there's a

16    quick fault code information -- so if there's

17    any fault code, it should be uploaded to the

18    fault codes.      And if there's no fault code

19    present, then the document LI05.10-P-058758

20    shall be completed and guided troubleshooting

21    in Xentry shall be performed.

22                    So they basically pretty much

23    removed all the conditions for the

24    replacement of camshaft adjuster.

25           Q.       And were you involved in the



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 1    discussions to -- I guess to change the scope

 2    of the --

 3           A.       No.    Like I said, it was a

 4    constant feedback.       Like I said, it's not

 5    just me that -- who receives the feedback

 6    that I get from the CAC, although I get most

 7    of the queries.

 8           Q.       Yeah.

 9           A.       But there could be other

10    channels or could be someone speaking

11    directly with R&D engineers in Germany, and

12    they might have did some more testing and

13    could have come up, you know, with the

14    conclusion that we should remove certain

15    conditions because it's not always that the

16    failure of a camshaft adjuster would throw

17    these fault codes.       There could be instances

18    where there's a damage or a faulty camshaft,

19    but it does not have any fault codes.

20           Q.       Okay.    So from your understanding,

21    does this NCU expand the coverage or the

22    extended warranty?

23           A.       Yes, it does.      Yes.

24           Q.       Okay.

25           A.       And also for the reimbursement



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 1    part as well, it expanded on that as well.

 2            Q.      Okay.    Were there any discussions

 3    that you were involved in about sending an

 4    updated letter to the customers?

 5            A.      For customer, I think there was

 6    no notification because, as I think may be in

 7    the -- I can't remember the exhibit, but

 8    there was a discussion regarding why we are

 9    not sending out the customer letters.            It was

10    because of creating more confusion to the

11    customers as well as the cost perspective of

12    it --

13            Q.      Okay.

14            A.      -- printing the letters and

15    sending out.

16            Q.      Since this was sent out, have you

17    received any additional complaints?

18                    MR. KNAPP:      Object to form.

19    BY MR. CONN:

20            Q.      Go ahead.

21            A.      Since 2021, I can't remember

22    I've seen any because -- I've been involved

23    in many other topics --

24            Q.      Okay.

25            A.      -- but I can't recall for sure



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 1            Q.      Okay.    Do you have an

 2    understanding of how many cars in California

 3    are covered under the extended warranty we're

 4    talking about here?

 5            A.      I think the overall population

 6    for this one was about 150K.

 7            Q.      Is that for the entire United

 8    States, though?

 9            A.      It's for entire United States.

10    And for California, it would be much less.

11            Q.      Okay.

12            A.      I would say yeah.        But I don't

13    remember off the top of my head.

14                    MR. KNAPP:      Okay.    Fair enough.

15    That's all I have.

16

17                       REEXAMINATION

18    BY MR. CONN:

19            Q.      Just to clarify, when was the

20    first NCU for the campaign?

21            A.      October 30th.

22            Q.      Okay.    When your attorney asked

23    you if the first one was November 3rd, 2020 --

24                    MR. KNAPP:      No.   I said October

25    30th.    The second one was November 9th.



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 1                   C E R T I F I C A T E
 2

 3              I do hereby certify that the above and
 4    foregoing transcript of proceedings in the
 5    matter aforementioned was taken down by me in
 6    machine shorthand, and the questions and
 7    answers thereto were reduced to writing under
 8    my personal supervision, and that the
 9    foregoing represents a true and correct
10    transcript of the proceedings given by said
11    witness upon said hearing.
12              I further certify that I am neither of
13    counsel nor of kin to the parties to the
14    action, nor am I in anywise interested in the
15    result of said cause.
16

17

18

19

20

21

22

23                   _____________
24          J. ASHLEY ARROWOOD, RPR, CRR

            REGISTERED PROFESSIONAL REPORTER
25          CERTIFIED REALTIME REPORTER



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                                                                    EXHIBIT

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               Exhibit 14
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